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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                        IN THE UNITED STATES DISTRICT COURT                               May 22, 2023
                        FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

DEUTSCHE BANK NATIONAL TRUST                    §
COMPANY, AS TRUSTEE FOR CDC                     §
MORTGAGE CAPITAL TRUST 2003-                    §
HE4, MORTGAGE PASS-THROUGH                      §
CERTIFICATES, SERIES 2003-HE4,                  §
                                                §
        Plaintiff,                              §          Civil Action No. 4:23-cv-00933
                                                §
v.                                              §
                                                §
RODNEY WASHINGTON,                              §
                                                §
        Defendant.                              §

                                  FINAL DEFAULT JUDGMENT

       Came on to be considered the above-entitled and numbered cause wherein Plaintiff

Deutsche Bank National Trust Company, as Trustee for CDC Mortgage Capital Trust 2003-HE4,

Mortgage Pass-Through Certificates, Series 2003-HE4 (“Plaintiff”) is the Plaintiff and Rodney

Washington (“Defendant”) is the Defendant. Despite having been duly and legally summoned to

appear and answer, Defendant failed to appear and answer, and wholly made default on

Plaintiff’s claims against him.

       Plaintiff’s Original Complaint (“Complaint”) was served upon the Defendant according

to law and returned to the Clerk where it remained on file for the time required by law. The

Court has read the pleadings and the papers on file, and is of the opinion that the allegations of

Plaintiff’s Complaint have been admitted by Defendant. The Court further finds that Plaintiff

does not seek monetary damages against the Defendant, but instead seeks certain declarations

and a judgment allowing foreclosure of the real property which is the subject of this action.




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       In light of the Defendant’s default and the nature of Plaintiff’s claims, the Court orders as

follows:

       It is ORDERED, ADJUDGED AND DECREED that the material allegations of the

Complaint be and are deemed admitted as to Defendant Rodney Washington. It is further,

       ORDERED, ADJUDGED AND DECREED the Motion for Default Judgment is

GRANTED in its entirety. It is further,

       ORDERED, ADJUDGED AND DECREED that an event of default has occurred on

that certain Texas Home Equity Note (Fixed Rate – First Lien) executed on or about August 25,

2003, by Decedent Lois Washington (“Decedent” or “Borrower”), in the principal amount of

$48,000.00, originally payable to Axiom Financial Services, a division of Accredited Home

Lenders, Inc., a California Corporation (“Axiom”) (hereinafter “Note”). It is further,

       ORDERED, ADJUDGED AND DECREED that that certain Texas Home Equity

Security Instrument (First Lien) dated August 25, 2003, executed by Decedent, and recorded as

Instrument No. W99332 in the real property records of Harris County, Texas (“Security

Instrument” and together with the Note, “Loan Agreement”), provides that Plaintiff as the

current owner of the Note and mortgagee of the Security Instrument, in the event of a default on

the obligations on the Note, with a first lien security interest on that certain real property

commonly known as 6234 Rietta Street, Houston, Texas 77016, and more particularly described

as follows:

       LOT 18, IN BLOCK 4, OF TIDWELL TIMBERS, A SUBDIVISION IN
       HARRIS COUNTY, TEXAS, ACCORDING TO THE MAP OR PLAT
       THEREOF, RECORDED IN VOLUME 74, PAGE 37 OF THE MAP RECORDS
       OF HARRIS COUNTY, TEXAS. (The “Property”).

       It is further,




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        ORDERED, ADJUDGED AND DECREED that Plaintiff is the current holder and

owner of the Note and beneficiary of the Security Instrument. Plaintiff is also a mortgagee as that

term is defined in section 51.0001(4) of the Texas Property Code. It is further,

        ORDERED, ADJUDGED AND DECREED that the following are secured by the

Security Instrument on the Property: the outstanding balance of the Note; prejudgment interest at

the Note interest rate of 8.69%; post-judgment interest at the Note interest rate of 8.69%; and

costs of court. It is further,

        ORDERED, ADJUDGED AND DECREED that Plaintiff or its successors or assigns,

may proceed with foreclosure on the Property as provided in the Security Instrument and section

51.002 of the Texas Property Code. It is further,

        ORDERED, ADJUDGED, AND DECREED that, should Plaintiff proceed with

foreclosure on the Property then, the purchaser at the foreclosure sale will be vested with all of

Defendant’s interest, rights, and title in the Property.

        ORDERED, ADJUDGED AND DECREED that all foreclosure notices may be mailed

to Defendant Rodney Washington, at 6234 Rietta Street, Houston, Texas 77016. It is further,

        ORDERED, ADJUDGED AND DECREED that all costs are to be taxed against

Defendant, not as a personal judgment but as a further obligation on the debt. It is further,

        ORDERED, ADJUDGED AND DECREED that this Order is a Final Judgment and

fully and finally resolves all claims between Plaintiff and Defendant. All relief requested and not

herein granted is denied.

                                                  May
          SIGNED on this the 22nd day of                             2023 at Houston, Texas.



                                                               Lee H. Rosenthal
                                                           United States District Judge

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